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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

 Criminal Case No: 19-cr-00098-CMA-1

 UNITED STATES OF AMERICA,

       Plaintiff,

 v.

 LEONARD LUTON,

       Defendant.



                ORDER REGARDING PROPOSED EXPERT TESTIMONY
                        PURSUANT TO FED. R. EVID. 702


       Upon consideration of the Unopposed Motion for Pretrial Ruling Regarding the

 Government’s Proposed Expert Testimony Pursuant to Fed. R. Evid. 702, it is hereby

       ORDERED that Federal Bureau of Investigations Special Agent Kevin Hoyland

 and Dr. Doug Shadel are permitted to render expert opinions and testimony during the

 trial in this case consistent with their expected testimony as outlined in the Unopposed

 Motion.

       Dated this _____ day of _______ __ _, 2020.


                                          BY THE COURT:


                                          __________________________________
                                          The Honorable Christine M. Arguello
                                          United States District Court Judge



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